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                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 IN RE:                                                              CASE NO.: 18-58056-bem
                                                                              CHAPTER 13
 Sherlinda Kei Roberts,

    Debtor.

 _________________________________/

              NOTICE OF APPEARANCE AND REQUEST FOR SERVICE
       PLEASE TAKE NOTICE THAT the undersigned counsel hereby appears on behalf of
MTGLQ INVESTORS, L.P. ("Secured Creditor"). Pursuant to Rule 2002 of the Federal Rules of
Bankruptcy Procedure, the undersigned requests all notices given or required to be given and all
papers required to be served in this case to creditors, any creditors committees, and any other
parties-in-interest, be sent to and served upon the undersigned counsel and the following be
added to the Court's Master Mailing List:
                                  Andrea Betts, ESQ.
                                  RAS CRANE, LLC
                       10700 ABBOTT'S BRIDGE ROAD, SUITE 170
                                 DULUTH, GA 30097

                                            RAS CRANE, LLC
                                            Attorney for Secured Creditor
                                            10700 Abbott's Bridge Road, Suite 170
                                            Duluth, GA 30097
                                            Telephone: 470-321-7112
                                            Facsimile: 404-393-1425

                                            By: /s/ Andrea Betts
                                            Andrea Betts, Esquire
                                            Georgia Bar Number 432863
                                            Email: abetts@rascrane.com
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on December 10, 2018, I electronically filed the foregoing
with the Clerk of Court by using the CM/ECF system, and a true and correct copy has been
served via CM/ECF or United States Mail to the following:

HOWARD P. SLOMKA
SLIPAKOFF & SLOMKA, PC
OVERLOOK III - SUITE 1700
2859 PACES FERRY RD, SE
ATLANTA, GA 30339

SHERLINDA KEI ROBERTS
4381 ASH TREE STREET
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MARY IDA TOWNSON
CHAPTER 13 TRUSTEE
191 PEACHTREE STREET, NE
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                                           By: /s/ Andrea Betts
                                           Andrea Betts, Esquire
                                           Georgia Bar Number 432863
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